                     IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF KANSAS


                                                        Case No. 5:25-cv-04045-JWB-TJJ
JONATHAN LAWSON,

Plaintiff
V.


ANGELIINA LYNN LAWSON,

Respondent


     NOTICE OF CONTINUED DENIAL OF ACCESS TO RECORDS POST-
                           REMOVAL


COMES NOW Respondent, Angeliina Lynn Lawson, appearing prose, and respectfully
submits this notice to inform the Court that, despite multiple formal requests and removal
of the above-captioned case to federal court on May 6, 2025, the Respondent has been
and continues to be denied access to her own court filings, orders, and designated
documents by the Anderson County Clerk's Office.

I. OBSTRUCTION FOLLOWING REMOVAL
1. The Clerk of Anderson County has failed to provide digital access or certified records
necessary for federal compliance under 28 U.S.C. § 1446(d) and Local Rule 81.2.

2. The public portal remains locked to the Respondent, preventing the download of filed
pleadings, orders, CART hearing notes, and motions. The Clerk has admitted in writing
that pro se litigants are required to appear in person at the courthouse to print filings-
even when they are parties of record and even after federal removal but ignores the
request for Rules and Procedure since other courts have provided everything
electronically and this is diverting from the normal precedent showing intent to retaliate
and obstruct.

3. This policy, as applied to Plaintiff-a disabled litigant proceeding pro se-constitutes
a denial of meaningful access under the Americans with Disabilities Act, 42 U.S.C. §
12132, and directly obstructs Plaintiff's ability to comply with federal procedures.
II. EVIDENCE OF NONCOMPLIANCE
4. Attached hereto are the following exhibits, documenting the Clerk's continued refusal
to provide record access and certified filings:

• Exhibit A-May 27, 2025 Pleadings History Printout (Case No. 2020-DM-13 l),
confirming locked access;

• Exhibit B - Email exchange with Clerk Tina Miller denying portal access and
suggesting in-person visitation only that is apx. 2 hour drive each way; when Oddessy
portal allows for downloadable filing but it is locked to Respondent being Pro Se.

• Exhibit C - Email sent May 14, 2025 documenting request for federal record
transmission and denial of Zoom access;

• Exhibit D-Email dated May 14, 2025 from Clerk Miller demanding payment of
$160.65 to release certified records while Respondent is on a granted poverty affidavit.

III. REQUEST FOR JUDICIAL NOTICE AND INTERVENTION
5. Respondent respectfully requests that the Court take judicial notice of this continued
obstruction and enter this Notice into the federal record that the lengths this clerk is
allowed to obstruct due process.

6. Respondent further requests that the Court instruct Anderson County or the appropriate
entity to release all records digitally and without undue financial or physical burden on
the disabled litigant, in compliance with federal standards and the ADA.


                                                                     Date: May 27, 2025




 1914 5th Ave., Leavenworth, KS 66048

 angeliinacourtrecords@gmail.com

 (913) 972-1661
                             CERTIFICATE OF SERVICE

I hereby certify that a true and correct copy of the foregoing document, titled **Notice of
Continued Denial of Access to Records Post-Removal••, was prepared for service in
connection with Case No. 5:25-cv-04045, currently pending before the United States
District Court for the District of Kansas.

As of the date below, service upon the named Defendants is pending the completion of
the removal process and issuance of further instructions or summons by the Court. Upon
such issuance, this document will be served in accordance with Federal Rule of Civil
Procedure 4(c), and this Certificate will be updated and refiled accordingly.

This Certificate is submitted in good faith and in compliance with the Court's procedural
requirements.


Respectfully submitted,                                             Dated: May 27, 2025




Pro Se Plaintiff

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